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ALLAN POTESHMAN, LLC
March 13, 2020

Honorable Paul W. Grimm, District Judge
United States District Court for the District of Maryland, Southern Division
6500 Cherrywood Lane
Suite 465A
Greenbelt, MD 20770

Re: Estate of Ke Zhengguang v. Yu Naifen Stephany, No. 8:18-cv-03546-PWG

Dear Judge Grimm,

We write on behalf of petitioner Estate of Ke Zhengguang (“Petitioner”) in response to the Court’s
February 24, 2020 Memorandum Opinion (the “Order”) granting Petitioner’s request to recognize
and enforce a final arbitration award (the “Final Award”) against respondent Yu Naifen Stephany
(“Respondent”). See ECF. No. 53.

The Order directed the parties to submit by March 13, 2020 either (1) “an agreed proposed
judgment order, consistent with the Final Award and this opinion,” or (2) a letter from each party
“containing a concise summary of [each party’s] position with respect to the exchange rate and
pre- and post-judgment interest, and the legal support for it.” (Order at 20). The parties reached
agreement on the exchange rate and post-judgment interest, but could not reach agreement on the
availability of prejudgment interest or (to the extent prejudgment interest is available) the
prejudgment interest rate. Petitioner also disputes certain language that Respondent has proposed
to include in the judgment (discussed below) that is unrelated to prejudgment interest. In this
letter, Petitioner explains its position on these disputed issues. Attached to this letter is
Petitioner’s proposed judgment.

Availability of pre-judgment interest

As several circuit courts have held, “post-award, prejudgment interest is available in an action to
confirm an arbitration award under the New York Convention.” Ministry of Def. and Support for
the Armed Forces of the Islamic Republic v. Cubic Def. Sys., Inc., 665 F. 3d 1091, 1102 (9th Cir.
2011) (citing Indus. Risk Insurers v. M.A.N. Gutehoffnungshutte GmbH, 141 F.3d 1434, 1446–47
(11th Cir. 1998); Waterside Ocean Navigation Co. v. Int’l Ltd., 737 F. 2d 150, 153–54 (2d Cir.
1984). Further, in the District of Columbia Circuit, “a presumption exists in favor of”
prejudgment interest “in actions to confirm arbitral awards under the New York Convention,” such
that “‘absent any reason to the contrary,’ prejudgment interest ‘should normally be awarded when
damages have been liquidated by an international arbitral award.’” LLC Komstroy v. Republic of
Moldova, No. 14-cv-01921 (CRC), 2019 WL 3997385, at *14 (citing Cont’l Transfert Technique
Ltd. v. Fed. Gov't of Nigeria, 932 F. Supp. 2d 153, 163-64 (D.D.C. 2013).

Here, consistent with the foregoing authorities, prejudgment interest is appropriate in order to
compensate Petitioner for Respondent’s significant delay in complying with the award. See LLC
Komstroy, 2019 WL 3997385, at *14 (stating that awarding prejudgment interest is appropriate
given multi-year delay in compliance).

Prejudgment Interest Rate

This Court has endorsed the use of the prime rate in calculating prejudgment interest. See Neel
v. Mid–Atl. of Fairfield, LLC, No. SAG–10–CV–405, 2012 WL 3264965, at *12 (D. Md. Aug. 9,
2012) (citation omitted) (“Courts often award pre-judgment interest at the prime interest rate. In
this case, the Court finds that the appropriate rate of prejudgment interest to properly compensate
[the plaintiff] is the prime interest rate, compounding annually.”). Courts in the District of
Columbia Circuit (which routinely address enforcement of international arbitration awards) have
“indicated a preference for the use of the prime rate in cases confirming foreign arbitral
awards.” See LLC Komstroy, 2019 WL 3997385, at *14 (citing Cont’l Transfert Technique Ltd.
v. Fed. Gov’t of Nigeria, 932 F. Supp. 2d 153, 164-65 (D.D.C. 2013) (citing Forman v. Korean Air
Lines Co., Ltd., 84 F.3d 446, 450 (D.C. Cir. 1996)). Specifically, courts in the D.C. Circuit have
found that “prejudgment interest should be calculated, on a compound basis, using the average
daily prime rate between the date of the Award and the date of judgment.” See id. at 163–65
(citing Belize Soc. Dev. Ltd. v. Gov't of Belize, 5 F. Supp. 3d 25, 43 (D.D.C. 2013).

Accordingly, Petitioner proposes that the Court award prejudgment interest, compounded annually,
using the average daily prime rate between the date of the award and the date of judgment.

Additional Language Proposed by Respondent

Respondent has proposed that the following italicized language be added to the proposed judgment:
“The Final Award is confirmed, and its Orders, are hereby entered as the judgment of the Court,
insofar as those Orders pertain to the parties before the Court, the Estate and Stephany Yu, but not
as to Arbitral Claimants, Arbitral Respondents, or other parties not before the Court.”

Respondent respectfully submits that italicized language is unnecessary and ambiguous. It is
unnecessary because the Order sought input from the parties only on the issues of the exchange
rate and pre and post judgment interest. The italicized language is unrelated to the specific topics
that the Court invited the parties to address.

Moreover, the italicized language introduces an ambiguity into the judgment, because it provides
that the award is being confirmed only to the extent that it “pertain[s] to the parties before the
Court” without any explanation of what that qualifier means. Given that the award may require
Respondent to seek the cooperation or consent of non-parties to this action who were parties to the
underlying arbitration, 1 the italicized language could be read to limit (or eliminate) Respondent’s

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    See Order at 3-4 (quoting the nine orders contained in the underlying arbitration award, such as order No. 1, which

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obligations to seek or obtain such cooperation or consent, in a manner that may conflict with the
award itself. Stated differently, Respondent’s proposed language is contrary to the Order’s
unambiguous and unqualified recognition and enforcement of the award. See Order at 20. 2

For the reasons outlined in this letter, Petitioner respectfully requests that the Court enter the
attached proposed judgment.

                                                           Respectfully Submitted,


                                                                _____________________________
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requires all respondents to the arbitration to “cause Greencourt Real Estate to sign a ‘Shanghai Real Estate Sale and
Purchase Contract’”[]).
2
    The Order enforced the award without any conditions or limitations.   As the Court stated:

     In sum, the Petitioner has provided the required documentation for recognition and enforcement of the Final Award.
     The Respondent has not sought to modify or annul or vacate the award, and the award has not been set aside or
     suspended in Hong Kong, where it was rendered. The Respondent asserted only one defense under the New York
     Convention—enforcement would violate public policy—but she did not satisfy the substantial burden to overcome
     the presumption favoring enforcement. Therefore, I shall GRANT Petitioner’s request to recognize and enforce
     the Final Award.     Respondent’s dismissal motion shall be DENIED.

Order at 20.


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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

ESTATE OF KE ZHENGGUANG,

                                      Petitioner,

                 —against—
                                                    8:18-cv-03546-PWG
YU NAIFEN STEPHANY
(a/k/a/ STEPHANY YU,
a/k/a/ STEPHANY NAIFEN YU
a/k/a/ STEPHANY N. DOMBROWSKI),

                                     Respondent.



                    [PETITIONER’S PROPOSED] FINAL JUDGMENT

       WHEREAS Ke Zhengguang and Respondent Yu Naifen Stephany (a/k/a/ Stephany Yu,

a/k/a/ Stephany Naifen Yu a/k/a/ Stephany N. Dombrowski) (“Stephany Yu”) are among the

parties to that certain “Agreement on the Implementation of ‘The Preliminary Share

Restructuring Agreement,’” which called for disputes to be resolved via arbitration in Hong

Kong (ECF No. 35-1) (the “2010 Agreement”);

       WHEREAS in February 2013, Ke Zhengguang and Xu Hongbiao (the “Arbitral

Claimants”) filed an arbitration against the remaining parties to the 2010 Agreement, Stephany

Yu, Oasis Investment Group Limited, Yu Naiwen and Yu Naiyen (the “Arbitral Respondents”);

       WHEREAS the Petitioner the Estate of Ke Zhengguang (the “Estate”) was substituted as

a party in the arbitration for Ke Zhengguang following his death;

       WHEREAS the arbitral tribunal issued a final award, dated February 25, 2018 (ECF

No. 35-3), as clarified in a supplemental award, dated December 19, 2018 (ECF No. 35-5)

(collectively, the “Final Award”);
       WHEREAS the Estate filed an Amended Petition in this Court against Stephany Yu

(ECF No. 35) under the Convention on the Recognition and Enforcement of Foreign Arbitral

Awards, June 10, 1958, 21 U.S.T. 2517, 33 U.N.T.S. 38 and 9 U.S.C. § 207, to confirm the Final

Award; and

       WHEREAS the Court has granted the Amended Petition. (ECF No. 53.)

       It is hereby ADJUDGED as follows:

       1.       The Final Award is confirmed, and its Orders are hereby entered as the judgment

of the Court.

       2.       With respect to Order 9, judgment is entered against Stephany Yu in the amount

of $796,658.25, 1 plus (i) pre-judgment interest, compounded annually, using the average daily

prime rate between the date of the Final Award and the date of entry of this Final Judgment, and

(ii) post-judgment interest based on the rate specified in 28 U.S.C. § 1961, from the date of entry

of this Final Judgment until its satisfaction.

       3.       Each party is to bear its own costs and fees.




                                                                Hon. Paul W. Grimm, U.S.D.J.
                                                                Dated:




       1
       This is calculated as the Estate’s one-half portion of the award amount,
RMB10,346,211, times the currency exchange rate published in the Wall Street Journal from
RMB to U.S. Dollars of 0.1540, as of February 28, 2018.

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